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                                                                                1/10/2020


                      IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF MONTANA

                                 HELENA DIVISION




 UNITED STATES OF AMERICA,                         CR 19-06-H-SEH

                             Plaintiff,            ORDER

          vs.

 KIELAN BRETT FRANKLIN,
 GERALD ALLEN HILER, alk/a Teg,
 ARIELLE ROSE COWSER, and
 MORGAN VICTOR PITSCH,

                             Defendants.


      Upon the record made in open court,

      ORDERED:

      1.        Defendant Arielle Cowser's Motion to Sever Trial 1 is DENIED.



Ill



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         2.    Defendant Arielle Rose Cowser may file supplemental jury

instructions related to Counts IV and V of the Superseding Indictment2 on or

before 4:45 p.m. on Feb;'.r' 14, 2020.

         DATED this _/_Q day of January, 2020.



                                               ~f{;""-f9                       •
                                               United States District Judge




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         Doc. 134.

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